Case 0:19-cv-61803-XXXX Document 1 Entered on FLSD Docket 07/18/2019 Page 1 of 6



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

                                 Case No.

  THOMAS MAHON,

                 Plaintiff,
  vs.

  MIAMI AIR INTERNATIONAL, INC.,

                 Defendant.
                                                /

                                       NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Miami Air International, Inc.,

  by and through its attorneys, Holland & Knight LLP, respectfully gives Notice of Removal of this

  action from the Seventeenth Judicial Circuit, in and for Broward County, Florida, to the United

  States District Court for the Southern District of Florida, Fort Lauderdale Division, and in support

  thereof, states as follows:

                                       UNDERLYING ACTION

         1.      On or about June 18, 2019, Plaintiff Thomas Mahon commenced an action against

  Miami Air by filing a Complaint and Demand for Jury Trial (the "Complaint") in the Circuit Court

  of the Seventeenth Judicial Circuit, in and for Broward County, Florida (the "State Court Action").

  A copy of the Complaint filed in the State Court Action is attached as Exhibit 1.

         2.      According to the Complaint, this action arises from alleged personal injuries

  sustained by Plaintiff on May 3, 2019 while he was a passenger on Miami Air Flight No. 293

  ("Flight 293"), which was an international flight operated by Miami Air that departed from

  Guantanamo Bay, Cuba ("NBW") and arrived at the Naval Air Station Jacksonville ("NIP") in

  Jacksonville, Florida. Compl. ¶ 6.
Case 0:19-cv-61803-XXXX Document 1 Entered on FLSD Docket 07/18/2019 Page 2 of 6



            3.    Plaintiff alleges that he was injured when Flight 293 landed at NIP. See id. ¶¶ 7 –

  17. Specifically, the Complaint alleges that "when [Flight 293] landed on runway 10 it crashed

  through a seawall and into the Saint Johns River" (the "Incident"). Id. ¶ 12.

            4.    The Complaint alleges that Miami Air had a duty to, inter alia "properly assess,

  analyze, evaluate and interpret the physical conditions and limitations of runway 10 before

  selecting it as a suitable runway", "to request permission to land at another airport", and to

  "properly operate the aircraft." Id. ¶ 13(h) – (j).

            5.    The Complaint then alleges that Miami Air breached its duties by, inter alia,

  "[failing] to properly address, analyze, interpret and respond to phase shifting warning of the flight

  computer", "[failing] to program the aircraft's proper takeoff thrust setting and V speeds", and

  "[failing] to properly operate the aircraft." Id. ¶ 14(h) – (j).

          6.      The Complaint alleges that Plaintiff was injured as a result of the Incident. Id. ¶¶

  15 – 17

          7.      The Complaint asserts one cause of action: a common law claim for negligence

  under Florida law.

                              FEDERAL QUESTION JURISDICTION

            8.    This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1331

  in that Plaintiff's claim arises under a treaty of the United States known as the Convention for the

  Unification of Certain Rules for International Carriage by Air, concluded at Montreal, Canada,

  May 28, 1999, reprinted in S. Treaty Doc. No. 106-45, 1999 WL 33292734 (the "Montreal

  Convention").

            9.    The Montreal Convention applies to international transportation and governs

  claims arising from bodily injuries that took place "on board the aircraft or in the course of any of



                                                      2
Case 0:19-cv-61803-XXXX Document 1 Entered on FLSD Docket 07/18/2019 Page 3 of 6



  the operations of embarking or disembarking." See Montreal Convention, Art. 17.

         10.     According to the Complaint, the subject matter of this action arose during

  "international carriage" within the meaning of Article 1(2) of the Montreal Convention. See

  Compl. ¶ 6. Specifically, Plaintiff's flight commenced in Guantanamo Bay, Cuba and terminated

  in Jacksonville, Florida: both Cuba and the United States are State Parties to the Montreal

  Convention. 1 Therefore, this action arises from "international carriage" within the meaning of

  Article 1(2) of the Convention.

         11.     Plaintiff's alleged injury occurred "on board the aircraft" within the meaning of

  Article 17. Because the Incident occurred during international carriage, the rights and liabilities

  of the parties are exclusively governed by the provisions of this Convention. Article 29 of the

  Montreal Convention provides in relevant part:

         In the carriage of passengers … any action for damages, however founded,
         whether under this Convention or in contract or in tort or otherwise, can only
         be brought subject to the conditions and such limits of liability as are set out
         in this Convention.

  (emphasis added). The Eleventh Circuit echoed the express language of the Convention and made

  clear that the Montreal Convention "is the exclusive mechanism for recovery for personal injuries

  suffered on board an aircraft … ." Marotte v. Am. Airlines, Inc., 296 F.3d 1255, 1259 (11th Cir.

  2002) (citing El Al Israel Airlines, Ltd. v. Tseng, 525 U.S. 155 (1999)). "For all air transportation

  to which the Montreal Convention applies … the treaty provides the sole cause of action under

  which a claimant may seek redress for his injuries." Ugaz v. Am. Airlines, Inc., 576 F. Supp. 2d

  1354, 1360 (S.D. Fla. 2008) (emphasis added); see also In re Air Crash Near Rio Grande Puerto



  1
   A list of Signatory Parties to the Montreal Convention, is maintained by the International Civil
  Aviation Organization (ICAO) at
  https://www.icao.int/secretariat/legal/list%20of%20parties/mtl99_en.pdf, last visited July 18,
  2019 and is attached as Exhibit 2.

                                                   3
Case 0:19-cv-61803-XXXX Document 1 Entered on FLSD Docket 07/18/2019 Page 4 of 6



  Rico on Dec. 3, 2008, No. 11-md-2246-KAM, 2012 WL 760885, at *4 (S.D. Fla. Mar. 7, 2012)

  (finding that the Montreal Convention "provides the sole cause of action under which Plaintiffs

  can redress their injuries" arising from international transportation); Vanderwall v. United Airlines,

  Inc., 80 F. Supp. 3d 1324, 1334-35 (S.D. Fla. 2015) (finding that the Montreal Convention, where

  applicable, provides the exclusive cause of action and preempts all state-law claims).

         12.       Therefore, Plaintiff's action may be removed to this Court pursuant to 28 U.S.C. §

  1331. See Ugaz., 576 F. Supp. 2d at 1358 (noting that the Montreal Convention provided a basis

  for federal jurisdiction and removal).

         13.       The Southern District of Florida, Fort Lauderdale Division, embraces the place

  where the State Court Action is pending, i.e., Broward County.

         14.       This Notice of Removal is signed subject to Federal Rule of Civil Procedure 11,

  and is timely in accordance with 28 U.S.C. § 1446.

         15.       Miami Air, therefore, removes this State Court Action to this Court pursuant to 28

  U.S.C. § 1331.

                                            TIMELINESS

         16.       Pursuant to 28 U.S.C. § 1446(b), the instant Notice of Removal has been filed

  within thirty (30) days of receipt by Miami Air of the Summons and Complaint. The Summons

  and Complaint were served on Miami Air's Registered Agent, Juan T. O'Naghten, on June 28,

  2019. Accordingly, this Notice of Removal is timely under 28 U.S.C. § 1446(b).

                                   STATE COURT PLEADINGS.

         17.       A true and correct copy of all of the process, pleadings, and orders served in the

  State Court Action are attached as Exhibit 3. A true and correct copy of the docket for the State

  Court Action is attached as Exhibit 4.



                                                    4
Case 0:19-cv-61803-XXXX Document 1 Entered on FLSD Docket 07/18/2019 Page 5 of 6



               NOTICE TO STATE COURT AND PLAINTIFF OF REMOVAL

         18.     A copy of this Notice of Removal is being filed with the Seventeenth Judicial

  Circuit Court in and for Broward County, Florida and written notice is being provided to Plaintiff

  pursuant to 28 U.S.C. § 1446(d).

                       NON-WAIVER AND RESERVATION OF RIGHTS

         19.     In filing this Notice of Removal, Miami Air reserves all and does not waive any

  defenses.

         WHEREFORE, Miami Air respectfully submits that this Notice of Removal complies

  with the statutory removal requirements and respectfully requests that this action now proceeding

  against it be removed from the Seventeenth Judicial Circuit Court in and for Broward County,

  Florida, to this Court, and that this action proceed in this Court as a properly removed action.

         Dated: July 18, 2019.

                                                Respectfully submitted,
                                                HOLLAND & KNIGHT LLP

                                                /s/       Joshua R. Levenson
                                                          Joshua R. Levenson
                                                          Florida Bar No. 56208
                                                          joshua.levenson@hklaw.com
                                                          Holland & Knight LLP
                                                          515 East Las Olas Boulevard, Suite 1200
                                                          Fort Lauderdale, Florida 33301
                                                          Phone: (954) 468-7852
                                                          Fax: (954) 463-2030
                                                          Attorneys for Miami Air International, Inc.




                                                      5
Case 0:19-cv-61803-XXXX Document 1 Entered on FLSD Docket 07/18/2019 Page 6 of 6



                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on July 18, 2019, I electronically filed the foregoing document

  with the Clerk of the Court CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record or pro se parties identified below in the manner specified, either

  via transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties not authorized to receive electronically Notices of Electronic

  Filing.

   Hyram M. Montero, Esq.
   Montero Law Center
   100 S.E. 6th Street,
   Ft. Lauderdale, FL 33301
   Email: hmontero@monterolaw.com
          eservice@monterolaw.com
   Counsel for Plaintiff
   [ via CM/ECF ]



                                                       /s/     Joshua R. Levenson
                                                               Joshua R. Levenson
                                                               Florida Bar No. 56208
                                                               joshua.levenson@hklaw.com




                                                   6

  #68887889_v1
